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                         DECLARATION OF VLADIMIR GURIN


I, Vladimir Gurin, declare the following on the penalties of perjury:

   1. I am the Director of DC Finance at the American Bar Association, through its Fund for

       Justice and Education (“ABA”).

   2. I am the authorized signatory on all ABA awards for both United States Department of

       State and USAID foreign assistance awards. I submit this declaration in support of

       Plaintiffs’ application for a preliminary injunction. The statements made in this

       declaration are based on my personal knowledge and my understanding of information

       made available to me pursuant to my duties at the ABA.

   3. On or about January 24, 2025, and continuing through on or about January 27, 2025,

       ABA began receiving notices from Agreement Officers, Grant Officers, and other U.S.

       officials, demanding that the ABA “stop-work” or “suspend activity” on its programs.

       These notices varied by mission and region, but the suspension notices were ultimately

       received for all ABA foreign assistance programs.

   4. After this court issued its Temporary Restraining Order (“TRO”), the ABA did not

       receive any notifications that the suspensions were lifted as per the TRO’s directives.

   5. Instead, of the 50 active awards for which the ABA was the prime recipient, the ABA

       received termination notices for all 50 of these awards.

   6. On or about February 26, 2025 through on or about March 5, I received a series of grant

       modifications effectuating the terminations of the awards as documented through the

       MyGrants portal. I then received various email directives from the Defendants’ Grants

       Officers to review and accept the modified awards (i.e. terminations) by March 6th.

   7. These modifications (terminations) contained a signature line for the “Grants Officer”

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   (line 19b) and for the “Recipient” (line 18b). In finalizing a modification, here

   termination, I am required to sign as the recipient on behalf of the ABA.

8. Since the ABA understood these terminations to be in violation of this Court’s TRO, I

   had no intention of agreeing to this directive, and no intention on signing on behalf of

   ABA in line 18b. I did, however, review the uploaded files. I personally downloaded

   copies of these documents, a subset of which are attached as Exhs. 1-10 hereto. I

   declare and affirm that the documents in Exhs. 1-10 are true, complete and accurate

   representations of the original and that they have not been altered, amended, or

   modified in any way since I downloaded them from the official U.S.G. MyGrants

   portal.

9. Upon review, I observed that ten (10) award modifications (terminations) attached

   hereto as Exhs. 1-10 were purportedly signed on line 18b on behalf of the ABA without

   my consent or the consent of anyone at the ABA.

10. I attest that eight (8) of the documents contained the signature of the Grant Officer in

   the Grants Officer line as well as on the Recipient line. The signatory line for the

   recipient, i.e. the ABA, were of four types: (1) “[Grants officer name] signed with

   consent of Grants Officer: Terminated per EO (electronically signed)”(Exhs. 1-3); (2)

   “[Grants Officer name] signed with consent of Grants Officer”(Exhs. 4-5); (3) “[Grants

   Officer name] signed with consent of GO Termination Action” (Exh. 8); or (4) “[Grants

   Officer name] signed with consent of Per A/GA/FA Instruction (electronically signed)”

   (Exhs. 6-7).

11. I attest that two (2) of those ten modifications explicitly and falsely claimed that they

   were “signed with consent of Vladimir Gurin (electronically signed).” (Exhs. 9-10).


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12. At no point did I, or anyone from ABA, communicate with any individual connected

   with Defendants to authorize the Defendants to sign these termination modifications on

   the ABA’s behalf.

   I declare under penalty of perjury that the foregoing is true and correct.




                                                                Vladimir Gurin
                                                                DC Finance Director
                                                                ABA




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